Case 2:97-cr-20235-.]PI\/| Document 282 Filed 09/02/05 Page 1 Of 2 Page|D 124 z
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IN THE UNITED sTATEs DIsTRIcT coURT HI_ED B.,, gov Dc:

FOR THE wEsTERN DISTRICT oF TENNESSEE ‘““" '_

wEsTERN DIVISION _ USSEP_e PH s_zh
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UNITED STATES oF AMERICA, 1 gin y
Nos. 97-20234 Mlv"b‘“" ‘$"'EMPHS
97-20235 ML/
97-20236 Ml
97-20237 Ml
97-20238 Ml
97-20239 Ml
97-20240 Ml
97-20441 Ml

Plaintiff,
v.
EDDIE D. JETER,

Defendant.

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ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his
surrender date (Defendant's current surrender date is September
6, 2005), filed September 2, 2005. The Defendant requests an
additional thirty (30) days in order to continue his recovery
from a recent heart catherization and to determine if additional

heart surgery and possible eye surgery will be necessary.
The Defendant’s motion is hereby GRANTED.

IT IS SO ORDERED THIS 52 DAY OF September, 2005.

WGM.

J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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UNITED `STATES DISTRICT COURT - W"'RTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 282 in
case 2:97-CR-20235 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

